7 F.3d 224
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Wade KENDRICK, Plaintiff-Appellant,v.A. A. TUMMINIA, Complex Administrator;  L. Douglas Wilder,Governor, Defendants-Appellees.
    No. 92-7171.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 19, 1993.Decided:  October 12, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-92-736-R)
      Richard Wade Kendrick, Appellant Pro Se.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, MURNAGHAN, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Richard Wade Kendrick appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Kendrick v. Tumminia, No. CA-92736-R (W.D. Va.  Sept. 24, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    